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 2                                                                        **E-Filed 12/04/07**
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 7                                         NOT FOR CITATION
 8                            IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11
12    IN RE REDBACK NETWORKS, INC.                              Case Number C 03-5642 JF (HRL)
      SECURITIES LITIGATION.
13                                                              JUDGMENT
      _________________________________________
14
      THIS DOCUMENT RELATES TO ALL
15    ACTIONS.

16
17           Defendants’ motion to dismiss the operative fifth amended consolidated complaint was

18   heard on November 16, 2007. The evidence and arguments having been considered and a

19   decision having been rendered, IT IS ORDERED AND ADJUDGED that judgment is entered in

20   favor of all Defendants. The Clerk shall close the file.

21
22
     DATED: December 4, 2007
23
24                                                         __________________________________
                                                           JEREMY FOGEL
25                                                         United States District

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     Case No. C 03-5642 JF (HRL)
     JUDGMENT
     (JFLC3)
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 1   This Order has been served upon the following persons:
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     Case No. C 03-5642 JF (HRL)
     JUDGMENT
     (JFLC3)
